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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO. 22-cv-21744-JEM

  ARTHUR VALLEJO,

         Plaintiff,

  v.

  CUSTOM VETERINARY SERVICES, LLC,
  a foreign limited liability company, a/k/a
  CUSTOM VETERINARY SERVICES, INC.,

        Defendant.
  _____________________________________/

                        JOINT NOTICE OF MEDIATOR SELECTION
                           AND SCHEDULING OF MEDIATION

         Pursuant to this Court’s August 01, 2022 Order Setting Civil Trial Date [DE 15]

  (hereinafter “Scheduling Order”) and the parties’ Joint Rule 16.1 Conferral Report [DE 17], the

  Parties, by and through their respective undersigned counsel, hereby serve notice that mediation

  in this matter will be held at 10:00 A.M. (EST) on Thursday, December 8, 2022 with mediator

  Robyn S. Hankins, Esq. at the law offices of Nelson Mullins, One Biscayne Tower, 2 South

  Biscayne Blvd., 21st Floor Miami, FL 3313, Telephone: (305) 373-9400.1




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   In accordance with the Court’s Scheduling Order the parties are not submitting a proposed order
  scheduling mediation. See DE 15 at P. 3.
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        JOINTLY AND RESPECTFULLY SUBMITTED, this 8th day of November, 2022.


   By: /s/ Dion J. Cassata                         By: /s/ Kristin M. Ahr
   Dion J. Cassata                                 Kristin M. Ahr
   Fla. Bar No.: 672564                            Florida Bar No. 63290
   dion@cassatalaw.com                             kristin.ahr@nelsonmullins.com

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                 [Counsel for Plaintiff]                  [Counsel for Defendant]




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